        Case 3:22-cv-01782-PGS-RLS Document 1-2 Filed 03/30/22 Page 1 of 5 PageID: 47



                                                                                                                                          Page I of 5

AO 239 (Rev. 0 1/15) App lication to Proceed in District Court Without Prepaying Fees or Costs (Long Form)



                                          UNITED STATES DISTRICT touRT
                                                                      for the
                                                       District of Camden New Jersey ;                /G ·        RECEI VE D
                        Jacquelyn Reaves                                        )
                                                                                                  '                      MAR 3 0 2022
                                            ---
                         Plaintiff/Petitioner                                   )
                                   V.                                           )        Civil Action No.             AT 8:30 _ _ _ _ _ M
                  Monmouth University, et al                                    )                                       WILLIAM T WALSH
                                                                                                                             CLERK
                       Defendant/Respondent                                     )                                                                       l
         APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                         (Long Form)


 Affidavit in Support of the Application                                      Instructions

 I am a plaintiff or petitioner in this case and declare                      Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                       Do not leave any blanks: if the answer to a question is "O,"
 and that l am entitled to the relief requested. l declare                    " none," or "not applicable (N/ A)," write that response. If
 under penalty of perjury that the information below is                       you need more space to answer a question or to explain your
 true and understand that a false statement may result in                     answer, attach a separate sheet of paper identified with your
 a dismissal of my claims.                                                    name, your case's docket number, and the question number.

 Signed:           -'#-1.,l>,'V"__,,.,~
                                    ~-     --~                      -         Date:     _S/La)U
I.        For both you and your spouse estimate the average amount of mon ey received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
          semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
          for taxes or otherwise.

                      Income source                                      Average monthly income                       Income amount expected
                                                                         amount during the past 12                          next month
                                                                                 months
                                                                           You            Spouse                        You            Soouse
Employment
                                                                    $         4,500.00 $                     0.00 $           0.00 $          0.00
Self-employment
                                                                    $                0.00 $                  0.00 $           0.00 $          0.00
Income from real property (such as rental income)
                                                                    $                0.00 $                  0.00 $           0.00 $          0.00
Interest and dividends
                                                                    $                0.00 $                  0.00 $           0.00 $          0.00
Gifts
                                                                    $                0.00 $                  0.00 $           0.00 $          0.00
Alimony
                                                                    $                0.00 $                  0.00 $           0.00 $          0.00
Child support
                                                                    $                0.00 $                  0.00 $           0.00 $          0.00
      Case 3:22-cv-01782-PGS-RLS Document 1-2 Filed 03/30/22 Page 2 of 5 PageID: 48



                                                                                                                                        Page 2 of 5

AO 239 (Rev. 0 1/15) Appli cation to Proceed in Di strict Court Without Prepayi ng Fees or Costs (Long Form)

Retirement (s uch as social security. pensions, annuities,
                                                                     $                 0.00 $                  0.00 $        0.00 $          0.00
insuran ce)
Disability (such as social security, insurance payments)
                                                                     $          9,000.00 $                     0.00 $    1,203.00 $          0.00
Unemployment payments
                                                                     $                 0.00 $                  0.00 $        0.00 $          0.00
Public-assistance (such as welfare)
                                                                     $                 0.00 $                  0.00 $        0.00 $          0.00
Other (specify):
                                                                     $                 0.00 $                  0.00 $        0.00 $          0.00

                                                                     $         13,500.00 $                     0.00 $    1,203.00 $         0.00
                                   Total monthly income:

2.         List your employment history for the past two years, most recent employer first. (Gross monthly pay is before tax.es or
           other deductions.)

Employer                               Address                                                         Dates of employment           Gross
                                                                                                                                   monthly pay
UPS                                    Virginia                                               12/21-12/21                          $    3,600.00

USPS                                   Durham, North Carolina                                 01/21-02/21                          $    1,500.00


3.         List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
           tax.es or other deductions.)

Employer                               Address                                                         Dates of employment           Gross
                                                                                                                                   monthly pay
NA                                                                                                                                 $

                                                                                                                                   $

                                                                                                                                   $


4.         How much cash do you and your spouse have? $
           Below, state any money you or your spouse have in bank accounts or in any other financial institution.

Financial institution                             Type of account                                      Amount you have            Amount your
                                                                                                                                   spouse has
                                                                                              $                               $              0.00

                                                                                              $                               $

                                                                                              $                               $


lfyou are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
      Case 3:22-cv-01782-PGS-RLS Document 1-2 Filed 03/30/22 Page 3 of 5 PageID: 49


                                                                                                                                      Page 3 of 5

AO 239 (Rev.0 1/ 15) App lication to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household fu rnishings.

                                                       Assets owned by you or your spouse


Home (Value)                                                                                                    $                         0.00
Other real estate (Value)
                                                                                                                $                         0.00

Motor vehicle # 1 (Value)                                                                                       $                    9,000.00

                  Make and year: 2018 Ford

                  Model:                 Focus

                  Registration #: NC Registration

Moto r vehicle #2 (Va lue)                                                                                      $

                  Make and year:

                  Model:

                  Registration #:

Other assets (Value)                                                                                            $                         0.00

Other assets (Va lue)                                                                                           $                         0.00


6.         State every person, busi ness, or organization owin g you or your spouse money, and the amount owed.

Person owing you or your spouse                             Amount owed to you                               Amount owed to your spouse
money
                                                 $                                                    $

                                                 $                                                    $

                                                 $                                                    $


7.         State the persons who rely on you or your spouse for support.

Name (or, if under 18, initials on ly)                                         Rel ationship                                      Age


NA
      Case 3:22-cv-01782-PGS-RLS Document 1-2 Filed 03/30/22 Page 4 of 5 PageID: 50


                                                                                                                                         Page 4 of 5

AO 239 ( Rev. 01 / 15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

8.         Estimate the average monthly expenses of you and your fami ly. Show separately the amounts paid by your
           spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
           monthly rate.

                                                                                                                  You              Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
        Are real estate taxes included? 0 Yes ~ No                                                            $           0.00 $             0.00
        Is property insurance included? 0 Yes i!f No
Utilities (electricity, heating fu el, water, sewer, and telephone)                                           $         360.00 $             0.00

Home maintenance (repairs and upkeep)                                                                         $         100.00 $             0.00

Food                                                                                                          $         200.00 $             0.00

Clothing                                                                                                      $           0.00 $             0.00

Laundry and dry-cleaning                                                                                      $          26.00 $             0.00

Medical and dental expenses                                                                                   $           0.00 $             0.00

Transportation (not including motor vehicle pay ments)                                                        $         150.00 $             0.00

Recreation, entertainment, newspapers, magazines, etc.                                                        $           0.00 $             0.00

Insurance (not deducted fro m wages or included in mortgage pay ments)

           Homeowner's or renter's: USAA                                                                      $          15.00 $             0.00

           Life:                                                                                              $                $

           Health:                                                                                            $                $

           Motor vehicle:                    USAA                                                             $                $

           Other:                                                                                             $                $
Taxes (not deducted from wages or included in mortgage pay ments) (5pecify):
                                                                                                              $                $

Installment payments

           Motor vehicle:                                                                                     $         250.00 $

           Credit card (name):                USAA/BOA/PNC                                                    $         400.00 $

           Department store (name) :                                                                          $           0.00 $             0.00

           Other:                                                                                             $           0.00 $             0.00

Alimony, maintenance, and support paid to others                                                              $           0.00 $             0.00
       Case 3:22-cv-01782-PGS-RLS Document 1-2 Filed 03/30/22 Page 5 of 5 PageID: 51


                                                                                                                                 Page 5 of 5

AO 239 (Rev . 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Fonn)


Regular expenses for operation of business, profession, or farm (attach detailed
                                                                                                            $           $
statement)

Other (specify) : NA                                                                                        $           $

                                                                                                            $   1,590.00 $           0.00
                                                                        Total monthly expenses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?

           0 Yes         ~No              If yes, describe on an attached sheet.

I 0.      Have you spent - or will you be spending -                    any money for expenses or attorney fees in conjunction with this
          lawsuit? 0 Yes O No

          If yes, how much? $

11.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.
          I have been extensively damaged related fo the complainl at hand, ancf I have not recovered. I also nave not
          been able to obtain , and maintain gainful employment as a result of this.




12.       Identify the city and state of your legal residence.
           I was a New Jersey resident during all periods of time related to my complaint. However, I currently reside in
           North Carolina.

             Your daytime phone number:                    (201) 647-9971
                                                                       ---
                         41
             Your age: - -              Your years of schooling:        20
                            -
